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UNITED STATES DISTRICT CO SF

CENTR.AL DISTRICT OF CALIFORNIA

WESTERN DIVISION

HENRY OKNYANSKY, ) NO. CV 00-7678-ER(CW)
a.k.a. GENNADY ARZHANIK, )
Petitioner, 1 JUDGMENT
V. §
GLENN MUELLER (Warden) , §
Respondent. §

 

IT IS ADJUDGED that this petition for writ Of habeas corpus is

 

dismissed with prejudice as untimely.

DATED= 9./9_0/0/

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EDWARD R EEDIE
United States District

 

     

 

  
 

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